Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 1 of 12 PageID 13291




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

  COLONEL FINANCIAL MANAGEMENT
  OFFICER, et al.,
                             Plaintiffs,
                                                     Case No. 8:22-cv-1275 (SDM/TGW)
        v.
  LLOYD AUSTIN, in his official capacity as
  Secretary of the United States Department of
  Defense, et al.,
                             Defendants.

          TIME-SENSITIVE THIRD MOTION TO STAY PROCEEDINGS

                                    INTRODUCTION

        Defendants have separately moved to dismiss this case as moot. Due to the

  impendency of trial and significant other discovery demands, Defendants respectfully

  move for an order vacating all pending deadlines and staying all other deadlines while

  the Court considers that motion. If the Court determines that anything remains of the

  case the parties should be ordered to file a status report proposing next steps within

  thirty days of such a ruling.

        As set forth in separate briefing on mootness ordered by the Court, in

  December, Congress passed and the President signed the NDAA, a law requiring

  rescission of DoD’s COVID-19 vaccination requirement (the very requirement at issue

  in this action). The Secretary has acted to rescind that requirement, including removal

  of past and pending adverse action for Plaintiffs and class members in this action.

  Defendants previously twice moved the Court to stay proceedings to preserve judicial

  and party resources while Congress considered, and Defendants implemented, the

                                            1
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 2 of 12 PageID 13292




  NDAA. Some deadlines were extended with each motion. Since then, the Secretary

  acted to rescind the mandate, and the Court has ordered briefing on mootness.

        Now that the parties are briefing mootness, it is even clearer that

  implementation of the NDAA will have a substantial impact on this litigation.

  Defendants have argued that the rescission justifies dismissal of all claims, or at a

  minimum, decertification of the class and dissolution of the injunctions. If anything

  of this case remains, the remaining class-wide or individual issues will look very

  different than the trial the parties envisioned. Accordingly, absent an immediate

  dismissal, a stay of proceedings in this case while the Court considers mootness and

  the parties address any ruling would be appropriate and will preserve the parties’ and

  the Court’s resources. If any aspect of the litigation remains following the Court’s

  ruling on mootness, Defendants propose that the parties file a joint status report

  proposing next steps within thirty days of that ruling.

        Plaintiffs’ continued insistence that the Court proceed as originally scheduled

  and resolve other pending pre-trial motions in time to conduct a bench trial in February

  (that could last two weeks or longer) is not an efficient use of resources. Moreover,

  because the challenged mandate has now been rescinded, rulings on the other pre-trial

  motions would likely result in a series of advisory opinions. The scope and content of

  relevant witness testimony would depend on what, if any, aspects of the litigation

  remain.   For example, because the mandate has been rescinded and religious

  accommodation requests (“RARs”) seeking an exemption from that mandate will no

  longer be processed, it is highly unlikely that any class issues will remain in the case.

                                             2
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 3 of 12 PageID 13293




  Thus, the high-ranking officials Plaintiffs currently seek to depose are unlikely to be

  relevant to any remaining issues. And, if any claim remains as to an individual

  Plaintiff, despite the Secretary’s direction to remove past discipline, litigation of that

  claim could require a different witness and discovery related to that individualized

  claim, as opposed to the class issues the parties have prepared for to date.

        Given the rescission of the mandate and the removal of pending and past

  discipline for Plaintiffs, neither Plaintiffs nor the class can demonstrate prejudice from

  a brief stay of proceedings to clarify whether any aspect of this case continues.

        In light of scheduled discovery deadlines, scheduled depositions, and the fast-

  approaching trial date, Defendants respectfully request expedited treatment of this

  motion and either an administrative stay pending briefing, or a decision by February

  2, 2023. Defendants have conferred with Plaintiffs’ counsel, who oppose the relief

  sought in this motion, but agree to an expedited briefing schedule whereby they file

  their opposition on the schedule set by the Court for mootness briefing, such that the

  opposition is due on or before January 25, 2023.

                                     BACKGROUND

        The background in this matter is more fully set forth in the mootness briefing

  concurrently filed today January 18, 2023. See ECF No. 275. As relevant here, when

  the proposed NDAA legislation was publicly released, Defendants moved to stay

  proceedings. ECF No. 252. The parties reached partial agreement and the Court

  entered an order extending certain discovery deadlines. ECF No. 254. In particular,

  the parties agreed to reschedule four depositions for the first two weeks of January, file

                                              3
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 4 of 12 PageID 13294




  Daubert motions by January 13, 2023, and complete conferrals on outstanding

  discovery disputes as soon as practicable. Id. When the President announced an

  intention to sign the NDAA, Defendants again moved to stay proceedings. ECF No.

  256. The Court partially granted the motion, continuing the trial date to February 27,

  2023, and encouraging the parties to resolve other scheduling issues. ECF No. 262.

  The parties jointly sought a scheduling order, which directed the parties to complete

  remaining depositions by February 8, 2023, set the pretrial report for February 15,

  2023, and set the pretrial conference for February 21, 2023. ECF No. 267.

        Significant discovery disputes and trial preparation remain to be completed

  prior to the pretrial report on February 15, including three depositions of high-ranking

  officials, and several motions that would need to be resolved. The three remaining

  depositions include: on February 6, 2023, an expert witness deposition of Dr. Barbara

  Mahon, a senior CDC official and Defendants’ expert witness on the safety and

  efficacy of the COVID-19 vaccines; on February 7, 2023 a 30(b)(6) deposition of

  Colonel Mark Reid, regarding the now-defunct policies implementing the DoD

  vaccine requirement; and on February 8, 2023, a fact deposition of Lieutenant General

  David Ottignon, who was preparing to testify as to why the Marine Corps’ compelling

  interests require vaccination of the Plaintiffs. Defendants also have multiple pending

  motions (in addition to the mootness briefing): Defendants’ motion for an order to

  show cause why Chief Warrant Officer 3 should not be dismissed for failure to

  prosecute, ECF No. 244; Defendants’ motion for a protective order regarding

  additional 30(b)(6) deposition topics, ECF No. 250; Defendants’ motion in limine to

                                             4
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 5 of 12 PageID 13295




  exclude the testimony of Plaintiffs’ experts, ECF No. 273; and Defendants’ motion to

  compel, ECF No. 274. Pursuant to the schedule set by the Court, Defendants also

  currently anticipate filing a partially dispositive motion (related to the informed

  consent and damages claims), on or before January 23, 2023. ECF No. 272. Plaintiffs

  also just served a procedurally improper subpoena for the deposition of a Marine who

  previously conducted administrative functions in the RAR process.                      Defendants

  anticipate motions practice on that issue as well. 1 Defendants have also sought to hold

  the pending appeals in this matter in abeyance.

                                           ARGUMENT

         If the Court does not immediately dismiss all claims, the Court should stay all

  other proceedings while the parties brief and the Court decides if the litigation is moot.

  A district court “has broad discretion to stay proceedings as an incident to its power

  to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). “A request for

  stay ‘calls for the exercise of judgment, which must weigh competing interests and

  maintain an even balance.’” Ferrari v. N. Am. Credit Servs., Inc., 585 F. Supp. 3d 1334,

  1336 (M.D. Fla. 2022) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254-55 (1936)). In

  deciding whether to stay proceedings, courts consider “(1) whether a stay will unduly

  prejudice or tactically disadvantage the nonmoving party, (2) whether the moving

  party will suffer a hardship or inequity going forward, and (3) whether a stay will



  1
    There are additional discovery issues percolating that could result in additional motions practice.
  For example, Plaintiffs recently agreed to complete supplemental searches and produce additional
  documents on or before January 27, 2023; if that production is inadequate, Defendants may need to
  file another motion to compel.
                                                   5
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 6 of 12 PageID 13296




  preserve judicial resources.” Garmendiz v. Capio Partners, LLC, No. 8:17-cv-987, 2017

  WL 3208621, at *2 (M.D. Fla. July 26, 2017).

         Here, these factors weigh in favor of a stay of proceedings. Indeed, proceeding

  to address Plaintiffs’ challenges to the military’s COVID-19 vaccination regulations

  after the Government “commence[s] rescinding [those same] regulation[s] appears to

  be a very wasteful use of limited judicial resources.” Wyoming v. Zinke, 871 F.3d 1133,

  1142 (10th Cir. 2017). Even assuming that some aspect of Plaintiffs’ claims might

  continue even after Section 525 is implemented, it “is clearly evident that the disputed

  matter” has “become a moving target.” Id.

        I.     A Stay Promotes Judicial Economy.

        The Court should stay proceedings to promote judicial economy and to

  conserve the parties’ and the Court’s resources.        Implementation of the NDAA

  resolves all or some of Plaintiffs’ claims, rendering unnecessary—or at least

  substantially affecting—future litigation. Accordingly, Defendants propose that other

  litigation deadlines be stayed until after the Court resolves mootness, so that the parties

  can incorporate the mootness decision into any required discovery, briefing and trial

  preparation. A stay “will narrow the legal issues involved in this dispute and provide

  a more concrete setting for deciding any issues [that may or may not be] left on the

  table.” See Am. Petroliam Institute v. EPA, 683 F.3d 382, 388 (D.C. Cir. 2012).

        The preparation currently proceeding at breakneck speed is either entirely

  unnecessary or focused on the wrong issues. The parties have been undergoing

  discovery on a highly expedited basis, see Order, ECF No. 236, with a focus on what

                                              6
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 7 of 12 PageID 13297




  the Court described as the “only contention that unifies the class” as “whether . . .

  before ordering Marines to accept a vaccination religiously repugnant (to the class) the

  Marine Corps asked the questions that RFRA demands and answered those questions

  in the manner . . . that RFRA demands”, ECF No. 229, at 4, and what the Court

  described as “the only remedy foreseeably ‘appropriate’ [-] an order re-committing the

  Marines’ applications [for a religious accommodation from the COVID-19

  vaccination requirement] en masse to the Marine Corps for a determination in accord

  with the . . . requirements of RFRA,” id. at 46. Defendants have separately argued

  that Section 525 and the rescission moot this case entirely, or at a minimum, would

  impact the basis for class certification and the existing injunctions. ECF No. 275. To

  the extent class members claim they have other lingering effects from the mandate and

  demand new class-wide relief, such relief has not been the subject of this litigation to

  date and is not the focus of the currently scheduled depositions, which therefore do

  nothing to advance Plaintiffs’ claims.     It is difficult to see how the parties can

  investigate and try such claims a few weeks from now. If any claims survive the

  NDAA as implemented, the remaining Plaintiffs will need to amend their complaint,

  including as to any potential class claims. And the five or more other pretrial motions

  currently pending or expected in this matter, see supra pp. 4-5, perhaps need not be

  resolved at all if a stay is implemented. Accordingly, the requested relief will further

  the orderly course of justice and preserve the Court’s resources.

        II.    A Stay Would Prevent All Parties from Needlessly Wasting Resources.

        Given that the NDAA clearly impacts the scope and nature of the issues to be

                                             7
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 8 of 12 PageID 13298




  decided, proceeding with expedited discovery imposes a hardship on Defendants (as

  well as Plaintiffs). The Eleventh Circuit has recognized the hardship that potentially

  unnecessary discovery imposes as it has “emphasized the responsibility of trial courts

  to manage pretrial discovery in order to avoid ‘a massive waste of judicial and private

  resources’ and a loss of society’s ‘confidence in the courts’ ability to administer

  justice.”’ See Perez v. Miami-Dade Cnty., 297 F.3d 1255, 1263 (11th Cir. 2002) (quoting

  Johnson Enters. of Jacksonville, Inc. v. FPL Grp. Inc., 162 F.3d 1290, 1333 (11th Cir.

  1998)); see, e.g., Log Cabin Republicans v. United States, 658 F.3d 1162, 1166–68 (9th Cir.

  2011) (finding moot a challenge to the military’s don’t-ask-don’t-tell policy when the

  policy was repealed by statute after trial). Accordingly, there is a high likelihood that

  proceeding with discovery and litigation in this case will waste resources of all parties.

          Even if some aspects of this case remain, the imminently scheduled depositions

  regarding a defunct policy are likely irrelevant and would needlessly consume the

  limited time and resources of high-ranking officials. 2 Here, the scheduled depositions

  in this case include high-ranking military officials and one high-ranking Centers for

  Disease Control and Prevention (“CDC”) official: Lieutenant General David A.

  Ottignon, Barbara Mahon, M.D. M.P.H., and Colonel Mark Reid.

          LtGen Ottignon is the Commanding General of the Second Marine




  2
   Certain high-ranking officials are not normally subject to deposition at all. See, e.g., In re United States,
  985 F.2d 510, 512 (11th Cir. 1993); In re Paxton, 53 F.4th 303, 309 (5th Cir. 2022); Lederman v. N.Y.C.
  Dep’t of Parks & Recreation, 731 F.3d 199, 203–04 (2d Cir. 2013). Those principles apply with the
  greatest force when official military duties in furtherance of the national defense are implicated. See
  Woodard v. Marsh, 658 F.2d 989, 994 (5th Cir. 1981) (equitably balancing the impact on the military
  of “requir[ing] the Army to submit to discovery concerning” its decisions).
                                                        8
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 9 of 12 PageID 13299




  Expeditionary Force (“II MEF”). 3 Defendants identified him as the Marine Corps’

  witness on why vaccination of Plaintiffs is necessary to further the Marine Corps

  compelling interests, and as a witness on the RAR process as applied to the now-

  defunct vaccine requirement (in addition to another witness already deposed on the

  process). LtGen Ottignon’s testimony is now unlikely to be required in this case

  because Defendants should no longer need to prove a compelling interest furthered by

  the vaccination mandate that Plaintiffs challenge in this case. Disturbing LtGen

  Ottignon’s duties should not be required at this time given the need to first identify the

  remaining issues, if any, and then determine whether he is still a relevant witness.

         Second, Dr. Barbara Mahon is a Senior Advisor in the Office of the Director for

  the CDC’s National Center for Immunization and Respiratory Diseases and the

  Acting Director of the proposed Coronavirus and Other Respiratory Viruses Division.

  Defendants identified her as the primary expert witness on vaccine safety and efficacy,

  which was important to proving that the Marine Corps’ compelling interests are

  furthered by the vaccination mandate and that no less restrictive means exist, and

  disproving allegations by Plaintiffs that the required vaccines are neither safe nor

  effective. Now, however, the Marine Corps vaccination requirement at issue is no

  longer in place, and it is unlikely that Defendants will need to present a witness on this

  topic. Accordingly, Dr. Mahon’s other important duties to the American people




  3
   A MEF is a combined-arms force consisting of ground, air, and logistic forces. LtGen Ottignon’s
  MEF is one of three in the Marine Corps and includes more than 47,000 Marines and Sailors.
                                                  9
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 10 of 12 PageID 13300




   should not be disturbed. 4

          Finally, Defendants have identified Col Mark Reid, who is currently serving as

   Director of the Ground Combat Element Division of Capabilities Development

   Directorate within Combat Development and Integration, as the likely 30(b)(6)

   witness on the revised Topic 1 ─ regarding the Marine Corps’ now-defunct policies

   implementing the now-defunct vaccine requirement.                   Although Col Reid can be

   prepared to testify on this topic on February 7, 2023, preparation and deposition on

   these plainly moot topics will take Col Reid away from his duties.

          The time and resource demands of depositions of these senior officials appear

   wholly unnecessary, and if those depositions are proven necessary, they should occur

   only after the Court has resolved the mootness issues and the parties have determined

   what issues remain.

          III.    A Brief Stay Would Benefit, Not Unduly Prejudice, Plaintiffs.

          The Court must balance the benefits to the parties and for judicial economy

   against any undue prejudice that a stay may impose upon Plaintiffs. Plaintiffs will not

   be prejudiced by a short stay of proceedings because there is no threatened or imminent

   adverse action with respect to Plaintiffs or class members. See ECF Nos. 275-1, 275-

   3, 275-4 (describing Plaintiffs’ status and the rescission memorandum).

          Plaintiffs assert that some part of their claims might survive.                  But even if



   4
    Dr. Mahon serves as the CDC lead on child respiratory illnesses this winter season, requiring frequent
   engagement with CDC leadership; the White House; state, local, territorial, and Tribal public health
   departments; and other public health partners. Dr. Mahon is also routinely called upon by the White
   House and public health leadership for advice and opinions on COVID-19.
                                                    10
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 11 of 12 PageID 13301




   Plaintiffs are correct, they cannot explain how a limited stay would prejudice them. A

   stay would ensure that any deposition and trial would be focused squarely on any

   remaining issues rather than on matters rendered moot by the implementation of

   Section 525. If anything, requiring Plaintiffs and military deponents to guess about

   the possible scope of the remaining claims may prejudice Plaintiffs’ ability to obtain

   information from deponents relevant to any aspect of the case that might,

   hypothetically, remain. Finally, as a practical matter, the need to resolve the mootness

   issues, resolve all pre-trial motions, and possibly conduct supplemental discovery as to

   any remaining issues makes a February 27 trial impracticable or impossible.

                                       CONCLUSION

          For the foregoing reasons, if the Court does not dismiss this action, the Court

   should vacate all pending deadlines—including those related to discovery and the

   February 2023 trial—and stay proceedings in this matter. If any aspect of the litigation

   remains following the Court’s ruling on mootness, Defendants propose that the parties

   file a joint status report proposing next steps within thirty days of that ruling.

                        LOCAL RULE 3.01(g) CERTIFICATION

          On January 13, 2023, counsel for Defendants conferred via telephone with

   Plaintiffs’ counsel, and by email on January 17, 2023; Plaintiffs oppose the relief

   sought in this motion, but agreed to an expedited briefing schedule whereby they file

   their opposition on the schedule set by the Court for mootness briefing, such that the

   opposition is due on or before January 25, 2023.

   Dated: January 18, 2023                      Respectfully submitted,

                                               11
Case 8:22-cv-01275-SDM-TGW Document 276 Filed 01/18/23 Page 12 of 12 PageID 13302




   BRIAN M. BOYNTON                       /s/ Amy E. Powell
   Principal Deputy Assistant Attorney    ANDREW E. CARMICHAEL
   General                                AMY E. POWELL
                                          Senior Trial Counsel
   ALEXANDER K. HAAS                      MICHAEL P. CLENDENEN
   Director, Federal Programs Branch      LIAM C. HOLLAND
                                          CATHERINE M. YANG
   ANTHONY J. COPPOLINO                   Trial Attorneys
   Deputy Director                        United States Department of Justice
                                          Civil Division, Federal Programs Branch
                                          1100 L Street, N.W.
                                          Washington, DC 20005
                                          Tel: (919) 856-4013
                                          Email: amy.powell@usdoj.gov
                                          Counsel for Defendants




                                         12
